       Case 5:16-cv-00569-F      Document 190       Filed 07/07/20   Page 1 of 7




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                )
and THE STATE OF OKLAHOMA,               )
ex rel. WAYNE ALLISON, Relator,          )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )       CIV-16-569-F
                                         )
SOUTHWEST ORTHOPAEDIC                    )
SPECIALISTS, PLLC, ET AL.,               )
                                         )
      Defendants.                        )

STATEMENT OF PARTIAL INTERVENTION BY THE UNITED STATES AND
    THE STATE OF OKLAHOMA FOR PURPOSES OF SETTLEMENT

      Pursuant to the June 26, 2020 Order of the Court (Dkt. No. 189), the False Claims

Act, 31 U.S.C. § 3730(c)(3), and the Oklahoma Medicaid False Claims Act, 63 O.S.

§ 5053.3(B), the United States and the State of Oklahoma intervene in part for purposes

of settlement. Specifically, the United States and Oklahoma intervene with respect to

claims against Defendants Oklahoma Center for Orthopaedic & Multispecialty Surgery,

LLC (“OCOM”), USP Oklahoma, Inc., USPI Holding Company, Inc., USP International,

Inc., and UAP of Oklahoma, LLC (collectively the “USP Defendants”), Tenet Healthcare

Corporation (“Tenet”), Southwest Orthopaedic Specialists, PLLC, Anthony L. Cruse,

D.O., R.J. Langerman, Jr., D.O., Daniel J. Jones, M.D., Mehdi Adham, M.D., Derek

West, D.O., Brian Levings, D.O., Brad Reddick, D.O., Kristopher Avant, D.O., and

Shane Hume, D.O. (collectively, the “SOS Defendants”) as set forth in Recital Paragraph

D of the settlement agreement between the United States, Oklahoma, Relator Wayne


                                             1
        Case 5:16-cv-00569-F      Document 190      Filed 07/07/20    Page 2 of 7




Allison, OCOM, the USP and SOS Defendants, and Anesthesia Partners of Oklahoma,

LLC (the “Settlement Agreement”).

      Consistent with the terms of the Settlement Agreement, after the settlement

amounts are paid, the parties will file dismissal papers and submit a proposed order

dismissing claims against all but two remaining defendants in the action.

                                         Respectfully,

July 7, 2020                             TIMOTHY J. DOWNING
                                         United States Attorney

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                                            2
        Case 5:16-cv-00569-F       Document 190       Filed 07/07/20    Page 3 of 7




                             CERTIFICATE OF SERVICE

        I certify that on the 7th day of July 2020, I electronically transmitted the attached
document to the Clerk of Court using the CM/ECF System. Based on the records currently
on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following ECF
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                                             3
      Case 5:16-cv-00569-F    Document 190     Filed 07/07/20   Page 4 of 7




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                                      4
      Case 5:16-cv-00569-F     Document 190     Filed 07/07/20   Page 5 of 7




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                                       5
      Case 5:16-cv-00569-F      Document 190     Filed 07/07/20   Page 6 of 7




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                                        6
      Case 5:16-cv-00569-F     Document 190        Filed 07/07/20   Page 7 of 7




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                                       7
